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  8                        UNITED STATES DISTRICT COURT
  9         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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 11   WILLIAM SANDOVAL,                         Case No.: 2:19-cv-05773-RGK-GJS
 12
                                   Plaintiff,
 13          vs.
 14
      METRO CRUISE SERVICES,
 15
      L.L.C.; and SIGNAL MUTUAL                 ORDER RE: PLAINTIFF’S
      INDEMNITY ASSOCIATION,                    ATTORNEY’S FEES AND COSTS
 16
      LTD.;                                     [29]
 17
 18                             Defendants.
 19
 20
 21         William Sandoval (“Plaintiff”) filed a complaint against Metro Cruise Services,
 22   LLC (“Metro”), and Signal Mutual Indemnity Association, Ltd. (“Signal”)
 23   (collectively “Defendants”), seeking enforcement of a Supplementary Compensation
 24   Order pursuant to section 918(a) of the Longshore and Harbor Workers’
 25   Compensation Act (“Longshore Act”), 33 U.S.C. § 901, et seq.
 26         Pursuant to a joint stipulation of the parties, the Court ORDERS:
 27         That pursuant to 33 U.S.C. Section 928 of the Longshore and Harbor Workers’
 28   Compensation Act (“Longshore Act”), 33 U.S.C. § 901, et seq., and Federal Rules of

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                       ORDER RE: PLAINTIFF’S ATTORNEY’S FEES AND COSTS
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